Case: 2:17-cr-00138-JLG-CMV Doc #: 135 Filed: 04/09/20 Page: 1 of 1 PAGEID #: 1058

3 April 2020 CL HARD yo
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Judge James L. Graham 2 4 PR MAGEL

Magistrate Judge Chelsey M. Vascura 20 App “EAT

US District Court ~9 Py

85 Marconi Blvd., Room 121 ie ie, ie: Os

Columbus, Ohio 43215 eA I RIOT 5

 

ref: 2:17-CR-138
2:19-CV-5302
SUPPLIMENTAL FILING TO MOTION

MOTION FOR RELEASE FROM DETENTION BASED ON THE Covid-19 PANDEMIC

Answers to required Quetsions:
a) YES, I have documented health conditions that put me especially at risk

to Covid-19.
1) I have a heart condition documented in my PSI and BoP provides ne
with the prescribed medication, Metoprolol, 25 mg
2) I have high cholestrol documented in my PSI and BoP provides me
with the prescribed medication, Atorvastatin, 20 mg
b) YES, I am over 60 years of age. I am 68.
c) LI am being detained POST CONVICTION.
d) NO.
e) YES, I have a single charge of conspiracy to commit wire fraud.
£) NO.
g) The opposing party's position is UNKNOWN.

Dear Judge James Graham,

I request immediate release to home confinement in light of the Covid-19
pandemic. My age and health conditions put me especially at risk should I
contract Covid-19 while incarcerated. Please take note of my current situation.

I am incarcerated at Lompoc Prison Camp in Lopoc California. It is a BoP
designated "hot spot" because of the outbreak of Covid-19 among inmates and
staff and understaffing. It is only a matter of time before Covid-19 is
introduced into the Camp by asymptomatic staff or guards.

Social distancing is impossible. I live in one room shared by 160 other
inmates. I share 100 square feet of living space with 3 other inmates.

My family needs me at home more than ever as my 9 year old great nephew
must be home schooldd and they must shelter in place. Their county, Santa Clara
County, is a hot spot in California.

My wife, my great nephew's caregiver, is herself still recovering from her
three surgeries in 2019.

I pose no threat to society.

I have served 62% of the time required before I will be released to home

confinement per the First Step Act.

Please act quickly as time is of the essence.
I declare under perjury the aforementioned is true and accurate.

Bevnd Appleby §f6965961

FCI Lompoc
3705 West Farm Rd.
Lompoc, CA 93436
